Case 4:11-cr-40037-SOH         Document 1337  Filed 07/16/14             Page 1 of 2 PageID #:
                                         4572



                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION



UNITED STATES OF AMERICA                                                          PLAINTIFF



vs.                                 NO. 4:11-CR-40037-056



LEON COLLINS                                                                      DEFENDANT

                                            ORDER

       Before the Court is Defendant Leon Collin’s Motion for Return of Property and Motion

for Copies of Transcript, Presentence Investigation Report and Plea Agreement. (ECF No. 788).

As to the Motion for Return of Property, Defendant requests the Court to order the Government

to return his computer tower and cell phone. The Court has been informed that the Government

never took possession of the computer tower. As to the cell phone, Defendant’s motion is

GRANTED. Defendant may make arrangements to retrieve his cell phone from the Federal

Bureau of Investigation’s office in Texarkana.

       As to the Motion for Copies of Transcript, Presentence Investigation Report and Plea

Agreement, “[t]itle 28 U.S.C. § 753(f) requires that transcripts be provided at government

expense only upon certification by the Court that a § 2255 motion already on file is not frivolous

and that a transcript is needed to decide the issues presented.”          Bateman v. U.S., No.

4:07CV1991-DJS, 2009 WL 3762330, at *3 (E.D. Mo. Nov. 10, 2009). The same rationale has

been applied to the provision of free copies of other portions of the record. Id. In this case,

Defendant has not shown a genuine need for the transcript, presentence investigation report, and
Case 4:11-cr-40037-SOH        Document 1337  Filed 07/16/14          Page 2 of 2 PageID #:
                                        4573



the plea agreement. Accordingly, the Court finds that Defendant’s motion should be and hereby

is DENIED.

       IT IS SO ORDERED, this 16th day of July, 2014.

                                                         /s/ Susan O. Hickey
                                                         Susan O. Hickey
                                                         United States District Judge
